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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        District District
                                                    __________   of SouthofCarolina
                                                                            __________

         Bitmain Technologies Georgia Limited,                        )
                                                                      )
                                                                      )
                     (Intervenor-Plaintiff)                           )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                          Civil Action No. 7:23-cv-01427-TMC
                                                                      )
        Blockquarry Corp. f/k/a ISW Holdings, Inc.                    )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) R. Taylor Speer
                                           Fox Rothschild LLP
                                           2 West Washington Street
                                           Greenville, SC 29601




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Paul T. Collins
                                           Nelson Mullins Riley & Scarborough LLP
                                           P. O. Box 11070
                                           Columbia, SC 29211



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 7:23-cv-01427-TMC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION

Bitmain Technologies Georgia Limited,                 )     Civil Action No. 7:23-cv-01427-TMC
                                                      )
                      Intervenor-Plaintiff            )
                                                      )
               vs.                                    )
                                                      )                COMPLAINT
                                                      )
Blockquarry Corp. f/k/a ISW Holdings, Inc.,
                                                      )
                                                      )
                       Defendant                      )
                                                      )
                                                      )

       Intervenor-Plaintiff Bitmain Technologies Georgia Limited, (“Bitmain”), by its undersigned

attorneys, would respectfully show unto this Court as follows:

                                PARTIES AND JURISDICTION

       1.      Bitmain is a corporation incorporated under the laws of the State of Georgia.

       2.      Defendant Blockquarry Corp. f/k/a ISW Holdings, Inc. (“Blockquarry”) is, upon

information and belief, a corporation organized and existing pursuant to the laws of Nevada that is

authorized to transact business in the state of South Carolina and maintains a principal place of

business in Texas.

       3.      This Court has subject matter jurisdiction over this case under 28 U.S.C. § 1332

because there is complete diversity of citizenship and the amount in controversy exceeds $75,000.

       4.      Venue is proper under 28 U.S.C. § 1391 because a substantial part of the events or

omissions giving rise to the claims asserted herein occurred in Gaffney, Cherokee County, South

Carolina.
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                                   FACTUAL BACKGROUND

                                           Bitcoin Mining

       5.      Bitcoin is a crypto-asset that uses cryptographic principles to allow owners of bitcoin

to securely transact with each other and to prove ownership of bitcoin via the bitcoin blockchain, a

decentralized public ledger.

       6.      No single organization controls bitcoin. Rather, the bitcoin crypto-protocol maintains

the bitcoin blockchain and provides for new bitcoins to enter the economy through a mechanism

known as “mining.” Individuals “mine” bitcoin by using sophisticated computer programs to perform

complex, resource-intensive computations which validate past bitcoin transactions.           Once the

transactions are validated, they are added to the bitcoin blockchain.

       7.      The mining process is competitive. The first miner to validate a block of transactions

is rewarded with an amount of bitcoin, while other miners get nothing for that block. Blocks are

mined on average once every ten minutes. The current reward for validating a block of transactions

is 6.25 bitcoin. Bitcoin miners can either sell the bitcoin for a fiat current, such as U.S. dollars, or

hold the bitcoin as an investment. At the current price of bitcoin, the reward for mining a single block

of bitcoin is worth approximately $400,000.

       8.      Because the computations required to mine bitcoin are highly complex, miners

typically use machines equipped with application-specific integrated circuit (“ASIC”) chips to stay

competitive. These machines are custom-built to efficiently mine bitcoin and can cost thousands of

dollars. To increase their profitability, miners often operate hundreds or even thousands of ASIC

miners at a time.




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       9.      Bitcoin mining, especially at a commercial scale, consumes significant amounts of

electric power. Without a reliable source of electric power, ASIC miners cannot be put to a productive

use.

       10.     ASIC miners are sophisticated electronic devices. As such, they are vulnerable to

damage from a variety of sources, such as water and moisture, heat, dust and debris, static electricity,

and physical injury. To mitigate the risk of damage, ASIC miners are typically stored in secured,

climate-controlled data centers.

             The Service Framework Agreement Between Bitmain and Blockquarry

       11.     Bitmain Technologies Ltd, an affiliate of Bitmain, is an industry-leading developer

and manufacturer of high-quality ASIC miners. Although Bitmain’s affiliates frequently sell ASIC

miners to individuals and organizations seeking to mine bitcoin, Bitmain also uses its own ASIC

miners to mine bitcoin.

       12.     On June 21, 2021, Bitmain and Blockquarry entered into a Service Framework

Agreement (the “First SFA”). Under the First SFA, Blockquarry was required to provision and

operate a data center facility, at which Bitmain would use 4,513 ASIC servers (the “Mining Servers”)

to mine bitcoin.

       13.     Under the First SFA, Blockquarry was required to provide Hosting Services to

Bitmain at the Data Center Facility.

       14.     The First SFA did not transfer ownership of the Mining Servers to Blockquarry.

       15.     Because Blockquarry did not itself own a facility that satisfied the requirements of the

SFA, Blockquarry subleased a data center at 154 Hyatt Street, Gaffney, SC 29341 (the “Gaffney Data

Center Facility”) from Litchain Corp. (“Litchain”). Upon information and belief, Litchain leased the

Gaffney Data Center Facility from its owner, the Gaffney Board of Public Works (“Gaffney BPW”).



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        16.    All of Bitmain’s dealings regarding the hosting of the Mining Servers were with

Blockquarry. Bitmain did not contract directly with Litchain or Gaffney BPW.

        17.    Bitmain delivered the Mining Servers to the Gaffney Data Center Facility between

February 7, 2022 and April 11, 2022. When Blockquarry took custody of the Mining Servers,

Blockquarry did not contest Bitmain’s ownership of the Mining Servers.

        18.    On September 1, 2022, Bitmain and Blockquarry terminated the First SFA and entered

into a new agreement with substantially similar terms, the Second Service Framework Agreement

(“Second SFA”).

        19.    The Second SFA contains a dispute resolution clause requiring “[a]ll disputes arising

under this Agreement shall be submitted to arbitration in Houston, Texas before a single arbitrator of

the American Arbitration Association (“AAA”).

        20.    Blockquarry operated the Gaffney Data Center facility through January 2023.

        21.    In January 2023, Gaffney BPW stopped providing electricity to the Gaffney Data

Center Facility due to a dispute between Gaffney BPW and Litchain, which Bitmain understands

related to allegedly unpaid rent and electric bills.

        22.    The Mining Servers were still fully functional and undamaged when Gaffney BPW

shut off electric power to the Data Center Facility in January 2023.

        23.    As a result of this dispute, Gaffney BPW padlocked and blocked physical access to

the Gaffney Data Center Facility on February 16, 2023, preventing Bitmain from removing its

Mining Servers, which were then non-functional due to the cessation in power services to the

facility.

        24.    Upon information and belief, at the time Gaffney BPW blocked physical access to

the Gaffney Data Center Facility, the Mining Servers were undamaged and able to be powered on.



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        Blockquarry Moves the Mining Servers to Missouri Over Bitmain’s Objection

       25.     On April 7, 2023, Blockquarry brought this litigation against Gaffney BPW and

Litchain seeking monetary damages, injunctive relief, and declaratory judgment.

       26.     On April 10, 2023, Blockquarry moved for a temporary restraining order and

preliminary injunction seeking the immediate return of a deposit Blockquarry paid to Gaffney

BPW and the return of property at the Gaffney Data Center Facility.

       27.     On April 12, 2023, the Court denied Blockquarry’s request for a temporary

restraining order. In its April 12, 2023 Order, the Court “admonishe[d] all litigants that any party

that engages in spoliation of evidence or waste of the personal property at issue in this action, or

otherwise dissipates such personal property, tangible or intangible, pending an order of this court

does so at its own peril and the court reserves the right to sanction any such conduct.”

       28.     Throughout this litigation, Blockquarry has represented to the Court that

Blockquarry does not itself own the majority of the bitcoin mining servers at the Gaffney Data

Center Facility. Blockquarry’s Complaint identified “over 5,000 Bitcoin mining servers” at the

facility, of which Blockquarry admitted it was the bailee, a claim Blockquarry repeated in its

Motion for a Temporary Restraining Order and Preliminary Injunction, and its Motion for Partial

Default Judgment as to Litchain.

       29.     Upon information and belief, Blockquarry and Gaffney BPW engaged in settlement

negotiations in October 2023. On October 18, 2023, Taylor Speer, counsel for Blockquarry,

informed Bitmain via email that as part of these settlement negotiations Gaffney BPW had agreed to

allow Bitmain into the Data Center Facility “for an inspection and to determine the equipment needed

to vacate.” Mr. Speer committed to “provid[ing] a plan for distribution [of the Mining Servers] to

Bitmain.”



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         30.   Blockquarry and Gaffney BPW then signed a secret settlement agreement and

stipulated to the dismissal of their claims against each other on November 2, 2023. (ECF No. 73.)

Upon information and belief, the settlement agreement addressed the return of Bitmain’s Mining

Servers, but the parties did not seek Bitmain’s input and have refused to share the agreement with

Bitmain. However, Gaffney BPW’s counsel represented to Bitmain that under the terms of this

settlement, “the equipment [i.e., the Mining Servers] will be disbursed by Blockquarry to Bitmain by

December 19.” (G. Bozeman email of November 20, 2023, attached hereto as Exhibit B.)

         31.   Instead of returning the Mining Servers by December 19, 2023, Blockquarry

unilaterally decided to remove Bitmain’s Mining Servers from the Gaffney Data Center Facility and

transport them out of South Carolina.

         32.   On November 3, 2023, Mr. Speer informed Bitmain’s counsel via phone call that

Blockquarry intended to move Bitmain’s Mining Servers from the Data Center Facility to a facility

in Jackson County, Missouri.

         33.   On November 6, 2023, Bitmain’s counsel informed Mr. Speer that “Bitmain does not

want its machines to be transported to Jackson County, Missouri and demands that it be able to off

rack and pack the machines from the Gaffney BPW site. At minimum Blockquarry must take

responsibility for the safety and security of Bitmain’s machines if Blockquarry were to transport

them.”

         34.   Despite Bitmain’s objections, Mr. Speer informed Bitmain’s counsel on November 7,

2023 that Blockquarry had already removed all of Bitmain’s Mining Servers from the Gaffney Data

Center Facility and was in the process of moving the Mining Servers to an undisclosed location in

Jackson County, Missouri.




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       35.     The same day, Bitmain’s counsel emailed Mr. Speer requesting videos and photos of

the packing and condition of the machines, the address of the Jackson County facility, the date when

the machines will arrive at the Jackson County facility, and Blockquarry’s availability for a business

meeting.

       36.     After removing Bitmain’s Mining Servers from the Gaffney Data Center Facility over

Bitmain’s objections, Blockquarry and its counsel strung Bitmain along for three months, continually

promising to return Bitmain’s Mining Servers—or at minimum to provide Bitmain with information

about the servers—and then reneging on its promises.

       37.     On November 9, 2023, Mr. Speer emailed Bitmain’s counsel stating that when “the

personal property arrives at its intended location, Blockquarry will inventory and test it” and

represented that “[w]hen Blockquarry’s inspection is complete, I will advise you and your

colleagues of the same, and our clients can either agree on a purchase and sale or Bitmain will be

invited to retrieve its property.” (T. Speer email of November 9, 2023, attached hereto as Exhibit

D.) (emphasis added)

       38.     On November 17, 2023, Mr. Speer emailed Bitmain’s counsel stating that the Mining

Servers “continue[] in transport” and that the “inventory and testing…will begin early next week.”

Speer states that he “expect[s] to have something substantive to you by end of next week and

potentially early the following week (i.e., week beginning Dec. 4).” Bitmain’s counsel again

reiterated that Bitmain “does not consent to Blockquarry moving the machines.”

       39.     Despite repeated promises to inform Bitmain of the location of its Mining Servers,

Blockquarry did not disclose the location of the facility to which it had transported Bitmain’s

Mining Servers until December 19, 2023.




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       40.     Even though Blockquarry had justified the significant delay in making the Mining

Servers available to Bitmain for inspection by saying that it needed to test the Mining Servers, on

December 21, 2023 Mr. Speer represented that “Blockquarry has not tested or used Bitmain’s

servers, and the Premises [at which the Mining Servers were then stored] do not have electric

power.”

       Bitmain’s Mining Servers Have Been Damaged While in Blockquarry’s Custody

       41.     After concealing the location of Bitmain’s Mining Servers for nearly two months, on

December 28, 2023, Blockquarry finally allowed Bitmain access to its facility at 29590 Highway U,

Crocker, Missouri to inspect the Mining Servers. Bitmain’s inspection revealed missing and damaged

Mining Servers.

       42.     Although Blockquarry represented that Bitmain’s Mining Servers were stored in 16

containers, Bitmain could only inspect 12 of the 16 containers, because four of the containers were

locked and unable to be opened by Blockquarry personnel. Bitmain calculated a total of 3,021 Mining

Servers, leaving 1,492 Mining Servers missing or locked in the four containers to which Blockquarry

did not have access.

       43.     Bitmain identified water leakage in the containers, which, upon information and

belief, caused water damage to Mining Servers that were off-racked and placed on the floor of the

containers.

       44.     Bitmain identified Mining Servers with rusted fans and, upon disassembling three

Mining Servers for a more thorough inspections, Bitmain identified internal rust, including rust on

the hashrate board, a critical component of a Mining Server.

       45.     Bitmain’s discussions with a potential purchaser of the Mining Servers also revealed

that serial numbers have been removed from approximately 3,000 of the Mining Servers.



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                    Blockquarry Contests Bitmain’s Ownership of the Miners

        46.     Instead of allowing Bitmain to retrieve its personal property, as it has repeatedly

agreed to do, in December 2023 Blockquarry proposed purchasing the Mining Servers from Bitmain.

During negotiations regarding the potential purchase of the Mining Servers, Blockquarry for the first

time raised doubts that Bitmain owns the Mining Servers.

        47.     Contrary to Gaffney BPW’s representation that Blockquarry would disburse the

Mining Servers to Bitmain by December 19, Blockquarry now refuses to return the Mining Servers

to Bitmain “until Bitmain proves ownership.” Blockquarry has refused to accept as proof of

ownership an inventory Bitmain provided to Gaffney BPW in May 2023, which Blockquarry has

known about since it was provided to Gaffney BPW but only challenges now—and has ignored a

purchase order Bitmain provided to Blockquarry demonstrating its ownership of the Mining Servers.

Blockquarry has also challenged the inclusion of an inventory of Bitmain’s Mining Servers in any

order the Court might issue in this litigation.

        48.     Even a cursory examination of the chain of custody of the Mining Servers shows the

absurdity of Blockquarry’s question regarding ownership of the Mining Servers. Blockquarry took

possession of the Mining Servers at the Gaffney Data Center as Bitmain’s bailee. The Mining

Servers were operated at the Gaffney Data Center for a time before Gaffney BPW disconnected

electrical power and locked the facility. Once Gaffney BPW unlocked the facility, Blockquarry

removed the Mining Servers and transported them to its facility in Missouri. At all times

Blockquarry was either responsible for the Mining Servers as bailee or in direct possession of the

Mining Servers. It strains credulity to suggest that unbeknownst to any of the parties another entity

entered the Gaffney Data Center or Blockquarry’s Missouri facility and replaced Bitmain’s Mining




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Servers with its own. And in the unlikely event that did happen, Blockquarry, as bailee of

Bitmain’s Mining Servers, would be responsible for the loss.

                       Bitmain Initiates Arbitration Against Blockquarry

        49.    On March 25, 2024, Bitmain commenced an arbitration against Blockquarry for

breach of contract, conversion, trespass to chattels, negligence, and gross negligence. Bitmain seeks

damages in the amount of the net BTC losses due to Blockquarry’s breach of the Second FSA and

the value of the Mining Servers. Bitmain also seeks an order requiring Blockquarry to return the

Mining Servers.

        50.    Bitmain brings this Complaint under AAA Commercial Rule 38, which permits a

party to an arbitration to make a request for interim measures to a court without waiving the right to

arbitration, and AAA Commercial Rule 54 which allows a party to bring a judicial proceeding relating

to the subject matter of the arbitration without waiving its right to arbitration. For the avoidance of

doubt, Bitmain is not seeking any permanent relief from this Court that Bitmain is also seeking in the

arbitration.

                               FOR A FIRST CAUSE OF ACTION
                                     (Breach of Contract)

        51.    Bitmain incorporates the allegations of Paragraphs 1 through 50 above herein by

reference.

        52.    On or about November 2, 2023, Blockquarry and Gaffney BPW entered into an

agreement (the “Settlement Agreement”) settling their claims in this litigation.

        53.    The Settlement Agreement is a valid and binding contract supported by sufficient and

valuable consideration exchanged between the parties.

        54.    Upon information and belief, Gaffney BPW has performed in good faith and complied

with its obligations under the Settlement Agreement.


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        55.     Bitmain is a third-party beneficiary who may enforce the Settlement Agreement.

Upon information and belief, the Settlement Agreement conferred a direct and substantial benefit on

Bitmain by requiring Blockquarry to disburse the Mining Servers to Bitmain by December 19, 2023.

        56.     Blockquarry has breached the Settlement Agreement by not disbursing the Mining

Servers to Bitmain.

        57.     As a direct and proximate cause of Blockquarry’s breach, Bitmain has been injured

and is entitled to any relief as the Court deems just and proper.

                             FOR A SECOND CAUSE OF ACTION
                      (Breach of Contract Accompanied by a Fraudulent Act)

        58.     Bitmain incorporates the allegations of Paragraphs 1 through 57 above herein by

reference.

        59.     The Settlement Agreement is an enforceable contract between Gaffney BPW and

Blockquarry.

        60.     Bitmain is a third-party beneficiary of the Settlement Agreement with the right to

enforce the Settlement Agreement against Blockquarry.

        61.     As set forth in greater detail throughout this Complaint and incorporated herein by

reference, Blockquarry has breached the Settlement Agreement.

        62.     Also as set forth in greater detail through this Complaint, Blockquarry’s breaches of

the Settlement Agreement were accompanied by separate and distinct fraudulent acts, including but

not limited to the following:

                a. Making fraudulent misrepresentations to Bitmain about its intent to return the

                    Mining Servers to Bitmain after removing the Mining Servers from the Gaffney

                    Data Center Facility;




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                b. Making fraudulent misrepresentations to Gaffney BPW about its intent to return

                     the Mining Servers to Bitmain after removing the Mining Servers from the

                     Gaffney Data Center Facility;

                c. Making fraudulent misrepresentations to Bitmain regarding the reasons for

                     Blockquarry’s delay in returning the Mining Servers, including Blockquarry’s

                     intention to test the Mining servers; and

                d. Making fraudulent misrepresentations regarding Bitmain’s ownership of the

                     Mining Servers;

        63.     Blockquarry’s breaches and accompanying misrepresentations were done with

fraudulent intent.

        64.     The circumstances surrounding Blockquarry’s various breaches, explained in greater

detail throughout this Complaint, evidence a dishonest design and devious scheme orchestrated in an

effort to secure control of the Mining Servers in violation of the Settlement Agreement and South

Carolina law.

        65.     Bitmain and Gaffney BPW relied on Blockquarry’s various misrepresentations.

        66.     Blockquarry’s fraudulent actions and breaches were willful, reckless, and made in

conscious disregard of Bitmain’s rights under the Settlement Agreement.

        67.     As a direct and proximate result of Blockquarry’s fraudulent actions and breaches,

Bitmain has been injured and is entitled to any relief as the Court deems just and proper.

                                       PRAYER FOR RELIEF

        WHEREFORE, Intervenor-Plaintiff Bitmain Technologies Georgia Limited respectfully

requests that the Court grant judgment in its favor against Defendant Blockquarry in the form of:




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      a.     An Order provisionally enjoining Blockquarry from further transferring, selling,

             damaging or otherwise disposing of the Mining Servers until Bitmain can obtain

             appropriate relief in its pending arbitration against Blockquarry; and/or

      b.     Appropriate relief requiring Blockquarry to comply with the terms of the settlement

             agreement between Blockquarry and Gaffney BPW; and/or

      c.     Bitmain’s costs and attorneys’ fees in bringing this Complaint; and/or

      d.     Any and all other relief that the Court deems just and equitable.



                                      NELSON MULLINS RILEY & SCARBOROUGH LLP


                                      By:     /s/Paul Collins
                                              Paul Collins
                                              Federal ID No. 09055
                                              paul.collins@nelsonmullins.com
                                              1320 Main Street, 17th Floor
                                              Columbia, SC 29201
                                              803.255.9747

                                      Attorneys for Plaintiff Bitmain Technologies Georgia
                                      Limited


Columbia, South Carolina
March 27, 2024




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                         Exhibit A
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Farrell, Kaitie

From:                                                     Farrell, Kaitie
Sent:                                                     Monday, November 20, 2023 3:05 PM
To:                                                       Taylor Speer (TSpeer@foxrothschild.com); 'Ginny Bozeman'
Cc:                                                       Feinstein, Marc; Pao, William K.; Stutz, Kate
Subject:                                                  RE: Bitmain Machine Removal


Thanks Ginny. Taylor, could you please let us know when Blockquarry was given access to the site to remove
the machines and when it completed the removal.


Kaitlyn G. Farrell
O: +1-213-430-7869
kfarrell@omm.com


From: Ginny Bozeman <gbozeman@popeflynn.com>
Sent: Monday, November 20, 2023 11:26 AM
To: Farrell, Kaitie <kfarrell@omm.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Pao, William K. <wpao@omm.com>; Stutz, Kate <kstutz@omm.com>;
Taylor Speer (TSpeer@foxrothschild.com) <TSpeer@foxrothschild.com>
Subject: RE: Bitmain Machine Removal


[EXTERNAL MESSAGE]

Kaitie,

Per the confidentiality clause in our release and settlement agreement, all I can tell you is that the equipment will be
disbursed by Blockquarry to Bitmain by December 19 and that the coordination of this return must be made through
Blockquarry. Taylor Speer, counsel for Blockquarry, is copied on this email so that you can coordinate that return with
him.

Thanks,



                                                   DIRECT: (803) 354-4947
Ginny Bozeman                                      CELL: (901) 299-0667
Senior Counsel                                     FAX: (803) 354-4899

                                                   popeflynn.com | vCard




1411 Gervais St.
Suite 300
Columbia, SC 29201


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From: Farrell, Kaitie <kfarrell@omm.com>
Sent: Monday, November 20, 2023 12:53 PM
To: Ginny Bozeman <gbozeman@popeflynn.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Pao, William K. <wpao@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: Bitmain Machine Removal

Hi Ginny,

Could you please let us know when Blockquarry was given access to the site to remove the machines and
when it completed the removal.

Thank you,
Kaitie

O’Melveny
Kaitlyn G. Farrell
kfarrell@omm.com
O: +1-213-430-7869

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Los Angeles, CA 90071
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                         Exhibit B
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Farrell, Kaitie

From:                               Clifford, Nicholas B. <Nicholas.Clifford@tuckerellis.com>
Sent:                               Tuesday, December 5, 2023 9:36 AM
To:                                 Speer, R. Taylor
Cc:                                 Feinstein, Marc; Farrell, Kaitie; Pao, William K.; Stutz, Kate
Subject:                            FW: Bitmain's Machines



[EXTERNAL MESSAGE]

Taylor,

You indicated in the email below that you would have an update on the status of the machines this week.

Please provide us with the following information about Bitmain’s machines:

1.       Current location including the name, address, and email address/telephone number of any facility where they
are located;
2.       The status of the machines (i.e., in storage, in use, in transit); and
3.       Written confirmation that Blockquarry will not move them again and will turn over custody of the machines to
Bitmain immediately.

Thank you,
Nick

Nicholas Clifford
Direct: 314-571-4962
Cell: 314-809-7416
Nicholas.clifford@tuckerellis.com

From: Farrell, Kaitie <kfarrell@omm.com>
Sent: Monday, December 4, 2023 5:58 PM
To: Clifford, Nicholas B. <Nicholas.Clifford@tuckerellis.com>
Cc: Stutz, Kate <kstutz@omm.com>
Subject: FW: Bitmain's Machines

<<< EXTERNAL EMAIL >>>



From: Speer, R. Taylor <TSpeer@foxrothschild.com>
Sent: Friday, November 17, 2023 7:07 AM
To: Farrell, Kaitie <kfarrell@omm.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Pao, William K. <wpao@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: RE: Bitmain's Machines


[EXTERNAL MESSAGE]




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Kaitie, the personal property formerly on the Gaffney premises continues in transport. The property is being
well cared for in transit. The inventory and testing discussed below will begin early next week. I expect to have
something substantive to you by end of next week and potentially early the following week (i.e., week
beginning Dec. 4). Best,




 R. Taylor Speer
 Counsel

 2 W. Washington Street
 Suite 1100
 Greenville, SC 29601
        (864) 751-7665
        (864) 751-7800
        tspeer@foxrothschild.com


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From: Speer, R. Taylor
Sent: November 9, 2023 1:57 PM
To: Farrell, Kaitie <kfarrell@omm.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Pao, William K. <wpao@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: RE: Bitmain's Machines

Hi, Kaitie. I would communicate with you verbally if there was a need; there is no need at this time.

As previously discussed, Blockquarry is transporting the personal property formerly on the Gaffney premises to its
location in Jackson County, Missouri. This personal property includes the miners owned (or claimed) by
Bitmain. When the personal property arrives at its intended location, Blockquarry will inventory and test it—recall
there was no electricity available at the Gaffney site. When Blockquarry’s inspection is complete, I will advise you
and your colleagues of the same, and our clients can either agree on a purchase and sale or Bitmain will be invited
to retrieve its property. In that regard, you should expect a communication from me at the end of next week or the
beginning of the following week (e.g., Monday, November 20). Until that time, please cease the demands,
telephone calls, and emails. I frequently discuss this matter with Blockquarry, and, if there are any relevant
intervening updates, I will communicate them to you.

Incidentally, Bitmain has appeared relatively inconsolable during this process. That sentiment is inconsistent with
Blockquarry’s conduct, which was to invest considerable of time and litigation fees to ensure BPW did not convert
Bitmain’s personal property. Additional patience is required here.

Best,

                                                  R. Taylor Speer
                                                  Counsel
                                                  Greenville, SC
                                                  (864) 751-7665
                                                  * 827-7665



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From: Farrell, Kaitie <kfarrell@omm.com>
Sent: November 7, 2023 9:03 PM
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Pao, William K. <wpao@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: [EXT] RE: Bitmain's Machines

Taylor,

Bitmain’s business team is available Thursday night Beijing time to discuss.

Bitmain requests that Blockquarry immediately send videos and photos showing the package and condition of
the machines. Bitmain also requests that Blockquarry immediately send the specific address of the Jackson
County, Missouri facility.

Thank you,
Kaitie

Kaitlyn G. Farrell
O: +1-213-430-7869
kfarrell@omm.com


From: Farrell, Kaitie
Sent: Tuesday, November 7, 2023 12:22 PM
To: 'Speer, R. Taylor' <TSpeer@foxrothschild.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Pao, William K. <wpao@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: RE: Bitmain's Machines

Taylor,

As discussed, we are surprised and dismayed to hear that the machines are already in transit. As we very
clearly communicated to you on Monday, Bitmain did not want its machines to be transported to Jackson
County, Missouri and requested that Bitmain off rack and pack the machines from the Gaffney BPW
site. Blockquarry had no right to transport the machines from the Gaffney BPW site to Missouri without
Bitmain’s authorization. Bitmain will hold Blockquarry liable for any damages resulting from the transport of
Bitmain’s machines and reserves all rights.

Please let us know immediately when the machines will arrive at the Missouri facility and please provide
Blockquarry’s availability for a business-to-business meeting to discuss the return of the machines.

Kaitlyn G. Farrell
O: +1-213-430-7869
kfarrell@omm.com


From: Farrell, Kaitie
Sent: Monday, November 6, 2023 10:30 AM
To: 'Speer, R. Taylor' <TSpeer@foxrothschild.com>
Cc: Feinstein, Marc <mfeinstein@omm.com>; Pao, William K. <wpao@omm.com>; Stutz, Kate <kstutz@omm.com>
Subject: Bitmain's Machines

Hi Taylor,

How does Blockquarry plan to transport the machines to Jackson County? Will it off-rack and package the
machines or will the containers be transported with miners on rack? Does Blockquarry have proper insurance
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to cover any potential damage or loss that occurs during transportation? Due to these potential risks, Bitmain
does not want its machines to be transported to Jackson County, Missouri and demands that it be able to off
rack and pack the machines from the Gaffney BPW site. At minimum Blockquarry must take responsibility for
the safety and security of Bitmain’s machines if Blockquarry were to transport them. Once Bitmain has
possession of the machines the parties can discuss purchasing the machines.

Bitmain would like to set up a business meeting with Blockquarry as soon as possible to arrange the return and
purchase of the machines.

Thank you,
Kaitie

O’Melveny
Kaitlyn G. Farrell
kfarrell@omm.com
O: +1-213-430-7869

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